Case 9:13-cr-00024-MAC-CLS            Document 100         Filed 04/07/14      Page 1 of 1 PageID #:
                                             258



                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    LUFKIN DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 V.                                                §            CASE NO. 9:12-CR-24(3)
                                                   §
 RANDALL GREGG DIXON                               §

                 ORDER ADOPTING REPORT AND RECOMMENDATION
                     OF UNITED STATES MAGISTRATE JUDGE

        Before the court is a report and recommendation of the United States magistrate judge

 regarding the Defendant’s competency for trial. (Docket No. 89.)

        Having conducted an independent review, the court concludes that the Defendant is

 competent to stand trial because he is able to understand the nature and consequences of the

 proceeding against him, and is able to assist his attorney in his defense. It is therefore

        ORDERED that the report and recommendation of the United States magistrate judge on

 the Defendant’s competency to stand trial is ADOPTED. It is further

        ORDERED that the Defendant, Randall Gregg Dixon, is competent. The speedy trial time

 shall be excluded from December 6, 2013 until the date of this order.

           So ORDERED and SIGNED this 7 day of April, 2014.




                                                          ___________________________________
                                                          Ron Clark, United States District Judge
